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                          UNITED STATES DISTRICT COURT

                             FOR THE DISTRICT OF IDAHO


 UNITED STATES OF AMERICA,
                                                  Case No. 1:12-cr-00155-BLW-3
                     Plaintiff,
                                                  REPORT AND
        v.                                        RECOMMENDATION

 VICTOR RUIZ,

                     Defendant.


       On September 26, 2012, Defendant VICTOR RUIZ appeared before the

undersigned United States Magistrate Judge to enter a plea of guilty pursuant to a written

plea agreement. The Defendant executed a waiver of the right to have the presiding

United States District Judge take his guilty plea. Thereafter, the Court explained to the

Defendant the nature of the charges contained in the applicable Superseding Information

(Dkt. 235), the maximum penalties applicable, his constitutional rights, the impact that

the Sentencing Guidelines will have, and that the District Judge will not be bound by the

agreement of the parties as to the penalty to be imposed.

       The Court, having conducted the plea hearing and having inquired of the

Defendant, his counsel, and the government, finds that there is a factual basis for the

Defendant’s guilty plea, that he entered it voluntarily and with full knowledge of the

consequences, and that the plea should be accepted. The undersigned also ordered a pre-



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sentence investigation to be conducted and a report prepared by the United States

Probation Office.

                                  RECOMMENDATION

       NOW THEREFORE IT IS HEREBY RECOMMENDED:

       1)     The District Court accept Defendant Victor Ruiz’s plea of guilty to Count 1

of the Superseding Information (Dkt. 235),

       2)     The District Court GRANT, at the appropriate time, the United States’

motion to dismiss Count 1 of the Second Superseding Indictment (Dkt. 146) as to

Defendant.

       Written objections to this Report and Recommendation must be filed within

fourteen (14) days pursuant to 28 U.S.C. § 636(b)(1) and Local Rule 72.1(b), or as a

result of failing to do so, that party may waive the right to raise factual and/or legal

objections to the United States Court of Appeals for the Ninth Circuit.


                                                   DATED: September 26, 2012



                                                   Honorable Candy W. Dale
                                                   United States Magistrate Judge




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